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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

JOSEPH WARD, by his next friend                §
FLOYD JENNINGS;                                §
                                               §
MARC LAWSON, by his next friend                §
KRISTA CHACONA;                                §
                                               §
JENNIFER LAMPKIN, by her next                  §         CIVIL ACTION NO. 1:16-cv-00917-LY
friend ELSIE CRAVEN;                           §
                                               §
CECIL ADICKES, by his next friend              §
ELSIE CRAVEN;                                  §
                                               §
KENNETH JONES, by his next friend              §
PATRICIA SEDITA;                               §
                                               §
MARY SAPP, by her next                         §
friend, LOURDES RODRIGUEZ; and                 §
                                               §
JULIAN TORRES, by his next                     §
friend MELISSA SHEARER                         §
                                               §
               Plaintiffs,                     §
                                               §
vs.                                            §
                                               §
COURTNEY PHILLIPS, in her official             §
capacity as Executive Commissioner of the      §
Texas Health and Human Services                §
Commission,                                    §         CLASS ACTION
                                               §
               Defendant.                      §

                     PLAINTIFFS’ FIFTH AMENDED COMPLAINT
                    FOR INJUNCTIVE AND DECLARATORY RELIEF

       Pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), Plaintiffs Joseph Ward, Marc

Lawson, Jennifer Lampkin, Cecil Adickes, Kenneth Jones, Mary Sapp, and Julian Torres, who

appear individually and on behalf of all others similarly situated, hereby file their Fifth Amended
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Complaint against Courtney Phillips, Executive Commissioner of the Texas Health and Human

Services Commission, and allege as follows:

                                              INTRODUCTION

        1.       When an individual charged with a crime is found to be incompetent to stand trial,

Texas law requires that the Texas Health and Human Services Commission (“HHSC”)1 provide

the incompetent detainee with treatment aimed at restoring the individual to competency. Texas

law further requires that this specialized competency restoration treatment must be provided by

HHSC, and the treatment can only be provided in an HHSC mental health facility2 or, under certain

circumstances and with proper supervision, in a community-based outpatient program overseen by

the HHSC.3

        2.       When an individual charged with a crime is found not guilty by reason of insanity

and the court determines that the offense of which the person was acquitted involved dangerous

conduct, Texas law requires that the court commit the insanity acquittee to a facility designated by

HHSC for evaluation of the person’s present mental condition and for treatment. These services

can be provided only by HHSC. Texas law states that an insanity acquittee cannot remain in jail

awaiting transfer to a facility designated by HHSC for a period longer than fourteen days.

        3.       Because HHSC lacks sufficient forensic capacity, HHSC refuses to accept custody

of those ordered to its care and instead places persons found incompetent to stand trial and persons

found not guilty by reason of insanity on waiting lists until a bed at an HHSC mental health facility


1
  As of September 1, 2017, oversight of the state hospitals and behavioral health programs, formerly the purview of
the Department of State Health Services, was moved under the oversight of the Health and Human Services
Commission.
2
   When Plaintiffs refer to HHSC mental health facilities, this term encompasses the entire system of all HHSC
operated, funded, and contracted psychiatric beds.
3
  In addition to community-based outpatient programs, in 2013, the Texas Legislature appropriated money for two
pilot jail-based competency restoration programs. See Acts 2013, 83rd Leg., ch. 797 (S.B. 1475), § 2, eff. Sept. 1,
2013. As of the date of this filing, a few jail-based competency-restoration program have been established; however,
these programs are available only to offenders who are not committed to a maximum-security facility.

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becomes available. It is common for these individuals, after the issuance of the order committing

them to HHSC facilities, to wait in jail for months until HHSC accepts custody.

       4.         Often, incompetent detainees—despite being presumed innocent—end up being

incarcerated in jail prior to adjudication and pending treatment longer than if they had been found

guilty of the alleged crime. In addition, insanity acquittees—despite being acquitted—also end up

being incarcerated in jail for months after an adjudication that absolves them of criminal

responsibility.

       5.         This situation is not new. To manage forensic access to its mental health facilities,

HHSC created its waiting lists for individuals found incompetent to stand trial or found not guilty

by reason of insanity and ordered to an HHSC mental health facility in 2006. Since 2006, the

number of criminal defendants found incompetent or not guilty by reason of insanity and ordered

to an HHSC mental health facility for evaluation and/or treatment has only increased.

       6.         As a result of the delays caused by HHSC, incompetent detainees and insanity

acquittees languish in county jails absent a criminal conviction until a bed becomes available at an

HHSC mental health facility. These delays harm Plaintiffs and other similarly situated individuals

because Texas jails are not designed or administered to provide either competency restoration

treatment for incompetent detainees or evaluation and/or treatment services for the psychiatric

needs of insanity acquittees. As a result, Plaintiffs are left with no meaningful competency

restoration or evaluation and treatment while they wait in jail for a bed at an HHSC mental health

facility. As such, incompetent detainees and insanity acquittees suffer needless deterioration of

their mental health as they wait in jails, frequently in prolonged isolation, for weeks or months

before they receive the services HHSC is responsible for providing.




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       7.      The delays caused by HHSC violate the due process rights of incompetent detainees

and insanity acquittees as guaranteed by the Fourteenth Amendment. Defendant has a duty to

accept and provide state-mandated restoration and evaluation services to detainees within a

reasonable period of time, which must be measured in days, not weeks or months. For insanity

acquittees, Texas law specifically mandates that such persons not remain in jail in excess of

fourteen days. Defendant’s failure to timely accept transfer of incompetent detainees and insanity

acquittees to its facilities and to provide timely restoration and evaluative treatment, however,

forces Plaintiffs and members of the Classes they represent to remain incarcerated for weeks and

months in county jails absent criminal convictions and without any of the court-ordered

competency restoration treatment or evaluation and/or treatment services that Defendant and

HHSC are statutorily required to provide. Accordingly, Plaintiffs seek a declaration of their rights

and an order enjoining Defendant from violating their rights.

                                 JURISDICTION AND VENUE

       8.      This civil action is authorized by 42 U.S.C. § 1983 to redress the deprivation under

color of law of rights guaranteed by the United States Constitution. This Court has jurisdiction

over this action pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights).

       9.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

                                            PARTIES

       10.     Plaintiff Joseph Ward is a defendant in a criminal case in the 351st Judicial District

Court in Harris County, Texas. On or about February 17, 2016, Mr. Ward was found incompetent

to stand trial and was ordered to be committed to a mental health facility for further examination

and treatment toward the specific objective of attaining competency to stand trial. Despite the

criminal court’s order, HHSC did not allow Harris County to timely transfer Mr. Ward to an HHSC



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mental health facility; instead, he was placed on an HHSC waiting list. As a result, he was

incarcerated in the Harris County Jail for 59 weeks before being admitted to North Texas State

Hospital-Vernon on April 4, 2017. While in jail, Mr. Ward did not receive competency restoration

treatment. Plaintiff Joseph Ward’s mental state limited his ability to protect his legal interests. As

such, a next friend was necessary to represent his interests. Floyd Jennings, Chief of the

Misdemeanor Mental Health Division of the Harris County Public Defender’s Office has

volunteered and agreed to serve as Plaintiff Ward’s next friend.

       11.     Plaintiff Marc Lawson is a defendant in a criminal case in the 390th Judicial District

Court in Travis County, Texas. On or about May 11, 2016, Mr. Lawson was found incompetent

to stand trial and ordered to be committed to a mental health facility for further examination and

treatment towards the specific objective of attaining competency to stand trial. The order also

required the Sheriff to transport Mr. Lawson to an HHSC mental health facility. Despite the

criminal court’s order, HHSC did not allow Travis County to timely transfer Mr. Lawson to its

mental health facility; instead, he was placed on an HHSC waiting list. As a result, he was

incarcerated in the Travis County Jail for sixty weeks before being admitted to North Texas State

Hospital-Vernon on July 20, 2017. Mr. Lawson did not receive competency restoration treatment

in jail. Plaintiff Lawson’s mental state limited his ability to protect his legal interests. As such, a

next friend was necessary to represent his interests. Plaintiff Lawson’s defense attorney, Krista

Chacona, has volunteered and agreed to serve as Plaintiff Lawson’s next friend.

       12.     Plaintiff Jennifer Lampkin is a defendant in a criminal case in the 403rd Judicial

District Court in Travis County, Texas. On or about March 31, 2016, Ms. Lampkin was found

incompetent to stand trial and ordered to be committed to a mental health facility for further

examination and treatment towards the specific objective of attaining competency to stand trial.



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The order also required the Sheriff to transport Ms. Lampkin to an HHSC mental health facility.

Despite the criminal court’s order, HHSC did not allow Travis County to timely transfer Ms.

Lampkin to one of its mental health facilities; instead, she was placed on an HHSC waiting list.

As a result, she was incarcerated in the Travis County Jail for 65 weeks before being admitted to

North Texas State Hospital-Vernon on July 6, 2017. Ms. Lampkin did not receive competency

restoration treatment in jail. Plaintiff Lampkin’s mental state limited her ability to protect her legal

interests. As such, a next friend was necessary to represent her interests. Plaintiff Lampkin’s

defense attorney, Elsie Craven, has volunteered and agreed to serve as Plaintiff Lampkin’s next

friend.

          13.   Plaintiff Cecil Adickes was a defendant in a criminal case in the 147th Judicial

District Court in Travis County, Texas. On or about November 7, 2016, Mr. Adickes was found

not guilty by reason of insanity and was ordered to be committed to a maximum security mental

health facility for evaluation of his present mental condition and for treatment. Despite the

criminal court’s order and the fourteen-day time limit required by Texas Code of Criminal

Procedure Article 46C.160, HHSC did not allow Travis County to timely transfer Mr. Adickes to

one of its mental health facilities; instead, he was placed on an HHSC waiting list. As a result, he

was incarcerated in the Travis County Jail for 13 weeks before being admitted to North Texas State

Hospital-Vernon on February 9, 2017. Mr. Adickes did not and could not receive the court-ordered

evaluation and treatment in jail. To assist Mr. Adickes in the representation of his interests,

Plaintiff Adickes’s criminal defense attorney, Elsie Craven, has volunteered and agreed to serve

as Plaintiff Adickes’s next friend.

          14.   Plaintiff Kenneth Jones is a defendant in a criminal case in the 185th Judicial

District Court in Harris County, Texas. On or about August 10, 2017, Mr. Jones was found



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incompetent to stand trial and was ordered to be committed to a mental health facility for further

examination and treatment toward the specific objective of attaining competency to stand trial.

Despite the criminal court’s order, HHSC did not allow Harris County to transfer Mr. Jones to one

of its mental health facilities; instead, he was placed on an HHSC waiting list. As a result, he was

incarcerated for 49 weeks before being admitted to Rusk State Hospital on July 19, 2018. Mr.

Jones did not and could not receive competency restoration treatment in jail. Plaintiff Jones’s

current mental state limits his ability to protect his legal interests. As such, a next friend is

necessary to represent his interests. Plaintiff Jones’s criminal defense attorney, Patricia Sedita,

has volunteered and agreed to serve as Plaintiff Jones’s next friend.

       15.     Plaintiff Mary Sapp was a defendant in a criminal case in the 185th Judicial District

Court in Harris County, Texas. On or about June 22, 2016, Ms. Sapp was found incompetent to

stand trial and was ordered to be committed to a mental health facility for further examination and

treatment toward the specific objective of attaining competency to stand trial. Despite the criminal

court’s order, HHSC did not allow Harris County to transfer Ms. Sapp to one of its mental health

facilities; instead, she was placed on an HHSC waiting list. As a result, she was incarcerated for

eight weeks before being admitted to North Texas State Hospital-Vernon on August 23, 2016. Ms.

Sapp did not and could not receive competency restoration treatment in jail.

       16.     After being restored to competency and returned to Harris County for trial, Ms.

Sapp was found not guilty by reason of insanity and was ordered to be committed to a maximum

security mental health facility for evaluation of her present mental condition and for treatment on

or about May 23, 2017. Despite the criminal court’s order and the 14-day time limit required by

Texas Code of Criminal Procedure Article 46C.160, HHSC did not allow Harris County to timely

transfer Ms. Sapp to one if its mental health facilities; instead, she was again placed on an HHSC



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waiting list. As a result, she was incarcerated in the Harris County Jail for 27 weeks before being

admitted to North Texas State Hospital-Vernon on December 7, 2017. Ms. Sapp did not and could

not receive the court-ordered evaluation and treatment in jail.         To assist Ms. Sapp in the

representation of her interests, Plaintiff Sapp’s criminal defense attorney, Lourdes Rodriguez, has

volunteered and agreed to serve as Plaintiff Sapp’s next friend.

       17.     Plaintiff Julian Torres is a defendant in a criminal case in the 5th County Court at

Law in Travis County, Texas. On or about April16, 2019, Mr. Torres was found incompetent to

stand trial and was ordered to be committed to a mental health facility for further examination and

treatment toward the specific objective of attaining competency to stand trial. Despite the criminal

court’s order, HHSC has not allowed Travis County to transfer Mr. Torres to one if its mental

health facilities; instead, he was placed on an HHSC waiting list. As a result, he continues to be

incarcerated in the Travis County Jail. Mr. Torres does not receive competency restoration

treatment in jail and has been waiting to be transferred to an HHSC mental health facility for

competency treatment. Plaintiff Torres’s current mental state limits his ability to protect his legal

interests. As such, a next friend is necessary to represent his interests. Plaintiff Torres’s criminal

defense attorney is the Travis County Mental Health Public Defender’s Office. Melissa Shearer,

head of the Travis County Mental Health Public Defender’s Office, has volunteered and agreed to

serve as his next friend.

       18.     Defendant Courtney Phillips is currently the duly appointed Executive

Commissioner of the Texas Health and Human Services Commission and has been delegated the

administration of that agency. As Executive Commissioner, Defendant Phillips is ultimately

responsible for ensuring that HHSC is in full compliance with federal and state law, as well as

agency rules, regulations, and policies. Defendant Phillips is responsible for “administering



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human services programs regarding mental health, including: administering and coordinating

mental health services at the local and state level; operating the state’s mental health facilities,”

and “designat[ing] the state hospitals to which persons with mental illness from each district shall

be admitted.” TEX. HEALTH & SAFETY CODE § 1001.072 and § 552.001. Defendant Phillips is

sued in her official capacity and is served with this Fifth Amended Complaint through her attorneys

of record, Thomas A. Albright and Michael R. Abrams.

                               CLASS ACTION ALLLEGATIONS

       19.      Plaintiffs bring this action as a class action pursuant to Rules 23(a) and 23(b) of the

Federal Rules of Civil Procedure, on behalf of themselves and all others similarly situated as

members of the following plaintiff classes:

      a. Class for Incompetent Detainees with Named Plaintiffs Joseph Ward, Marc Lawson,

          Jennifer Lampkin, Kenneth Jones, Mary Sapp, and Julian Torres, through their next

          friends, being appointed as class representatives:

             All persons who are now, or will be in the future, (a) charged with a Texas
             crime, (b) court-ordered to an HHSC mental health facility for competency
             restoration services; but, (c) because of HHSC’s insufficient forensic capacity,
             (d) remain incarcerated in a county jail more than 21 days from the day HHSC
             receives the court order to the day HHSC notifies the jail the person can be
             admitted to an HHSC mental health facility.

      b. Class for Insanity Acquittees with Named Plaintiffs Cecil Adickes and Mary Sapp,

          through their next friends, being appointed as class representatives:

             All persons who are now, or will be in the future, (a) charged with a Texas crime
             and found not guilty by reason of insanity, (b) ordered to receive evaluation
             and/or treatment services at an HHSC mental health facility, but, (c) due to
             HHSC’s insufficient forensic capacity, (d) remain incarcerated in a county jail
             more than 14 days from the day HHSC receives the court order to the day it
             notifies the jail the person can be admitted to an HHSC mental health facility.




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       20.      Plaintiffs seek class-wide declaratory and injunctive relief pursuant to Rule

23(b)(2).

       21.      While the precise number of Class Members in each class is not known to Plaintiffs

with certainty because the number necessarily fluctuates, based on Defendant’s recent discovery

responses, Plaintiffs estimate that as of March 15, 2019, there are approximately 771 individuals

who, although ordered to an HHSC mental health facility to receive competency restoration

services or evaluation and treatment services, remain incarcerated in jail. Of these, 615 individuals

have been waiting in jail longer than 21 days—in many of these cases, the wait is months long.

As for potential future Class Members, that number is indeterminable. Class Members are

detained in over seventy-five different county jails located throughout the state of Texas.

       22.      As for the class of individuals who have been found incompetent to stand trial, the

Plaintiffs’ claims are typical of the claims of all members of the Class. Because of Defendant’s

insufficient forensic capacity, the individual Plaintiffs and the Class have all been adjudicated, or

will be adjudicated, to be incompetent to stand trial and are, or will, remain incarcerated in jail

more than twenty-one days waiting for a bed at an HHSC mental health facility to begin receiving

the statutorily required competency restoration treatment. Plaintiffs and all members of the Class

have similarly suffered harm or will suffer harm in the future arising from Defendant’s actions and

inaction.

       23.      Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. These common

legal and factual questions include:


       Whether HHSC has failed to accept the ordered transfer of Plaintiffs and other Class
       Members to its facilities for competency restoration treatment in a timely manner;



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       Whether Defendant’s failure to admit individuals determined incompetent to stand
       trial and ordered to HHSC’s mental health facilities for competency restoration
       purposes in a reasonably timely manner, (e.g., within twenty-one days of receiving
       the court order committing them to an HHSC mental health facility) causing them
       to remain incarcerated in county jails, violates the Fourteenth Amendment to the
       United States Constitution;

       Whether Plaintiffs and other Class Members are entitled to the declaratory and
       injunctive relief they seek; and

       Whether Plaintiffs and other Class Members are entitled to an award of reasonable
       attorney’s fees and costs.

       24.     As for the class of individuals who have been found not guilty by reason of insanity,

the Plaintiffs’ claims are typical of the claims of all members of the Class. Because of Defendant’s

insufficient forensic capacity, the individual Plaintiffs and the Class have all been, or will be, found

not guilty by reason of insanity and are, or will be, incarcerated in jail for more than fourteen days

while waiting for a bed at an HHSC mental health facility to receive the statutorily required

evaluation and/or treatment services. Plaintiffs and all members of the Class have similarly

suffered harm or will suffer harm in the future arising from Defendant’s actions and inaction.

       25.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. These common

legal and factual questions include:

       Whether HHSC has failed to accept transfer of individual Plaintiffs and other class
       members who have been found not guilty by reason of insanity for evaluation
       and/or treatment services in a timely manner;

       Whether HHSC’s failure to admit individuals who have been found not guilty by
       reason of insanity and ordered by the criminal court to its mental health facility for
       evaluation and/or treatment services within fourteen days, causing them to remain
       incarcerated in county jails, violates the Fourteenth Amendment to the United
       States Constitution;

       Whether Plaintiffs and other Class Members are entitled to the declaratory and
       injunctive relief they seek; and



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       Whether Plaintiffs and other Class Members are entitled to an award of reasonable
       attorney’s fees and costs.

       26.     As to both proposed classes, Plaintiffs will fairly and adequately represent and

protect the interests of the Classes. There are no conflicts of interest between the Plaintiffs and

the other members of the Classes. The Class members will vigorously prosecute this action on

behalf of the Classes. The Plaintiffs are represented by competent counsel with considerable skill

and experience in civil rights and mental health litigation, who will vigorously prosecute this case

on behalf of the Classes.

       27.     For both incompetent detainees and insanity acquittees, HHSC has acted or failed

or refused to act on grounds generally applicable to the entirety of both Classes.

       28.     The claims asserted herein are inherently transitory. There is a continuing and

substantial public interest in these matters, justifying declaratory and injunctive relief in favor of

Plaintiffs and the Classes.

       29.     This suit may be maintained as a class action pursuant to Rules 23(a) and (b) of the

Federal Rules of Civil Procedure because Plaintiffs and other members of the Classes seek

declaratory and injunctive relief and all of the necessary factors of numerosity, commonality,

typicality, and adequacy are present.

       30.     A class action is the best available method for adjudication of these legal issues

because individual litigation of these claims would be impracticable and would be unduly

burdensome to the courts. Further, this suit may be maintained as a class action because common

questions of law and fact predominate over questions affecting only individual class members, and

individual litigation would increase the likelihood of inconsistent or contradictory judgments. A

class action presents fewer management difficulties and provides the benefits of a single

adjudication, economy of scale, and comprehensive supervision by a single court.


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                                  FACTUAL ALLEGATIONS

       31.     Defendant and HHSC, through their actions and inaction, cause incompetent

detainees and insanity acquittees to be incarcerated for weeks or months before HHSC provides

them their court-ordered competency restoration treatment or evaluation and/or treatment services.

A.     Defendant’s duty to timely admit incompetent detainees to an HHSC mental health
       facility for competency restoration services.

       32.     Under state and federal law, individuals who lack the ability to understand the

nature of the criminal court proceedings against them may not be tried.

       33.     Article 46B of the Texas Code of Criminal Procedure sets forth the procedures that

Texas courts must follow when a criminal defendant’s mental competency is challenged during

criminal proceedings.

       34.     A person is incompetent to stand trial if he or she does not have “sufficient present

ability to consult with the person’s lawyer with a reasonable degree of rational understanding,” or

“a rational as well as factual understanding of the proceedings against the person.” TEX. CODE

CRIM. PROC. art. 46B.003(a)(1)&(2).

       35.     “Either party may suggest by motion, or the trial court may suggest on its own

motion, that the defendant may be incompetent to stand trial.” Id., art. 46B.004(a). “If the court

determines that there is evidence to support a finding of incompetence, the court . . . shall stay all

other proceedings in the case.” Id., art. 46B.004(d). “If the defendant is found incompetent to

stand trial, the court shall proceed under Subchapter D.” Id.

       36.     Pursuant to Subchapter D, article 46B.071, the court, on a determination that a

criminal defendant is incompetent to stand trial, shall either commit the defendant to a mental

health facility designated by HHSC under 46B.073, or release the defendant on bail subject to

conditions under 46B.072. Id., art. 46B.071.


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        37.     For a defendant not released on bail, the court shall commit a defendant to a mental

health facility or residential care facility for a period not to exceed 60 days (misdemeanor) or 120

days (felony) “for purposes of further examination and competency restoration services with the

specific objective of the defendant attaining competency to stand trial.” Id., art. 46B.073(b)

(emphasis added).

        38.     If a defendant is charged with a “violent offense,” as listed in article 17.032(a),

other than an assault, or the indictment alleges an affirmative finding that a deadly weapon was

used during the commission of a felony, “the court shall enter an order committing the defendant

to the maximum security unit [MSU] of any facility designated by [HHSC] . . ..” Id., art.

46B.073(c). If the defendant is not charged with one of the enumerated offenses, “the court shall

enter an order committing the defendant to a mental health facility or residential care facility . . ..”

Id., art. 46B.073(d).

        39.     An order committing the defendant for restoration of competency “must place the

defendant in the custody of the sheriff for transportation to the facility in which the defendant is to

receive treatment for purposes of competency restoration.” Id., art. 46B.075.

        40.     Not later than the date of the order of commitment, the court must send a copy of

the order to the facility to which the defendant is committed. Id., art. 46B.076(a).

        41.     The facility to which the defendant is committed must: develop an individual

program of treatment; assess and evaluate whether the defendant will obtain competency in the

foreseeable future; and report to the court and local mental health or intellectual disability authority

on defendant’s progress toward achieving competency. Id., art. 46B.077(a).

        42.     Not later than the 15th day before the date on which the restoration period is to

expire, the head of the facility must so notify the court that the restoration period is about to expire.



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Id., art. 46B.079(a). Further, the head of the facility must also “promptly” notify the court when

the defendant has obtained competency to stand trial or upon a determination that the defendant

will not attain competency in the foreseeable future. Id., art. 46B.079(b).

       43.     On the return of the defendant to the court, the court must make a determination as

to the defendant’s competency to stand trial. The court must make this determination not later

than the 20th day after the court received the notice from the head of the facility required by article

46B.079. Id., art. 46B.084(a). If the defendant is found competent to stand trial, criminal

proceedings may be resumed; if the defendant is found incompetent to stand trial, the court may

determine whether the defendant should be subject to civil commitment.

B.     Defendant’s duty to timely admit individuals found not guilty by reason of insanity to
       an HHSC mental health facility for evaluation and/or treatment.

       44.     Article 46C of the Texas Code of Criminal Procedure sets forth the procedures that

Texas courts must follow when the defense of insanity is raised on behalf of a criminal defendant.

       45.     A person is not guilty by reason of insanity if a judge or jury has determined: “(1)

the prosecution has established beyond a reasonable doubt that the alleged conduct constituting

the offense was committed; and (2) the defense has established by a preponderance of the evidence

that the defendant was insane at the time of the alleged conduct.” TEX. CODE CRIM. PROC. art.

46C.153(a).

       46.     “[A] defendant who is found not guilty by reason of insanity stands acquitted of the

offense charged and may not be considered a person charged with an offense.” Id., art. 46C.155(a).

       47.     Since the individual is acquitted of the offense and no longer considered a person

charged with an offense, “…the court may [only] order the defendant detained in jail or any other

suitable place for a period not to exceed 14 days.” Id., art. 46C.160(a).




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       48.     Following a finding that an individual is not guilty by reason of insanity, the court

must immediately determine whether the offense of which the person was acquitted involved

dangerous conduct as defined in art. 46C.157.

       49.     If the court determines that the offense involved dangerous conduct, “[t]he court

shall order the acquitted person to be committed for evaluation of the person’s present mental

condition and for treatment to the maximum security unit of any facility designated by the

[HHSC].” Id., art. 46C.251(a).

       50.     When there is a finding of dangerous conduct and an insanity acquittee is

committed to an HHSC facility for evaluation and/or treatment services, the facility designated by

HHSC receives a copy of the transcript of all medical testimony and certain identifying

information regarding the insanity acquittee. Id., art. 46C.251(b)(1)&(2).

       51.     Upon transfer of the insanity acquittee to a facility designated by HHSC within 14

days, and following the evaluation and/or treatment of the insanity acquittee, HHSC must file a

report that describes and explains the procedure, techniques, and tests used in the examination of

the person. Id., art. 46C.252(b). “The report must address:

       (1) whether the acquitted person has a mental illness or [intellectual disability] and,
       if so, whether the mental illness or [intellectual disability] is severe;
       (2) whether as a result of any severe mental illness or [intellectual disability] the
       acquitted person is likely to cause serious harm to another;
       (3) whether as a result of any impairment the acquitted person is subject to
       commitment under Subtitle C or D, Title 7, Health and Safety Code;
       (4) prospective treatment and supervision options, if any, appropriate for the
       acquitted person; and
       (5) whether any required treatment and supervision can be safely and effectively
       provided as outpatient or community-based treatment and supervision.”

Id., art. 46C.252(c).

       52.     On the return of the insanity acquittee to court, the court shall conduct a hearing on

disposition and shall order the acquitted person (i) committed for inpatient treatment or residential


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care, (ii) to receive outpatient or community-based treatment and supervision, (iii) transferred to

an appropriate court for civil commitment proceedings under the Texas Health and Safety Code,

or (iv) discharged and immediately released. Id., arts. 46C.253(b)-(e).

C.     County jails are unable to provide competency restoration services to individuals
       found incompetent to stand trial and are unable to provide evaluation and/or
       treatment services to individuals found not guilty by reason of insanity.

       53.      County jails in Texas are inappropriate settings for the care and treatment of

individuals with mental illness or intellectual disabilities (formerly called “mental retardation”).

Jails are not designed to be therapeutic—they are inherently punitive—nor do they provide any

treatment aimed at restoring a person to competency or evaluation and/or treatment services for

individuals found not guilty by reason of insanity.

       54.      Correctional facilities, particularly facilities designed for short-term detention, do

not have the staffing, funding, or capabilities to provide treatment aimed at restoring a person to

competency or evaluation and/or treatment services for individuals found not guilty by reason of

insanity.

       55.      Detainees who are found incompetent to stand trial and detainees who are found

not guilty by reason of insanity are often the most severely mentally ill in Texas jail settings.

       56.      Most Texas jails do not have the ability to provide even basic psychiatric

stabilization and management. As a result, many detainees with serious mental illness are harmed

by the punitive jail setting as manifested by either increased symptoms of their underlying

psychiatric disorders or lack of improvement regarding their current symptoms. By refusing to

timely take custody of detainees (both incompetent detainees and insanity acquittees), Defendant

and HHSC cause such persons to be incarcerated in county jails under conditions nearly certain to

exacerbate their mental health conditions.



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       57.     Because county jails are often unable to provide even basic mental health treatment,

incompetent detainees and insanity acquittees frequently end up between a rock and a hard place:

either they are housed in the general jail population—often with convicted offenders—or they are

placed in solitary confinement, which causes their mental health to further deteriorate. This

deterioration conflicts with the State’s interest in prompt evaluation and treatment so that

incompetent detainees may be brought to trial, or so that insanity acquittees are not punished for

crimes they were acquitted of and are appropriately committed, transferred, or released.

       58.     Besides struggling to provide even basic mental health care, county jails in Texas

do not have the specific services necessary to restore individuals to competency to stand trial, such

as the most current medications, identification of specific social needs to restore and maintain

competency, and training specific to the restoration of competency. In contrast, state mental health

facilities are specifically designed to provide inpatient treatment to restore incompetent detainees

to competence, thereby enabling them to stand trial.

       59.     County jails in Texas also do not have the specific services necessary to provide

evaluation and/or treatment services to insanity acquittees. State mental health facilities, however,

are specifically designed to provide inpatient treatment and to conduct evaluations to make

complex determinations about a person’s mental health condition(s), including whether a person

is likely to cause serious harm to another, whether a person is subject to commitment under the

Texas Health and Safety Code, and whether prospective treatment and supervision options are

appropriate, safe, and effective.

       60.     Nevertheless, Defendant knowingly, intentionally, and deliberately refuses to

accept individuals found incompetent to stand trial and individuals found not guilty by reason of

insanity into state mental health facilities in violation of the requirements of Chapters 46B and



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46C of the Texas Code of Criminal Procedure, the orders of the criminal courts, and the U.S.

Constitution.

D.     Defendant has failed to timely admit incompetent detainees and insanity acquittees
       who have been ordered to an HHSC mental health facility.

       61.      According to a 2014 Joint Report by the National Sheriffs’ Association and the

Treatment Advocacy Center, “Texas is among the states with the lowest number of public

psychiatric beds and among the stingiest states in per capita mental health spending.”

       62.      In February 2006, due to HHSC’s insufficient forensic capacity, it implemented

waiting lists to track detainees (both incompetent detainees and insanity acquittees) who remain in

jail while waiting for a bed in an HHSC mental health facility. HHSC created two waiting lists to

manage its lack of forensic capacity: the Maximum Security Unit (“MSU”) Admission List and

the Forensic Clearinghouse List.

       63.      HHSC requires all detainees (both incompetent detainees and insanity acquittees)

committed to an HHSC mental health facility be placed on one of the waiting lists. HHSC uses

these waiting lists to manage admissions to their HHSC mental health facilities. Admissions to an

HHSC mental health facility are made primarily on a first-come, first-served basis, contingent

upon the capacity of an appropriate HHSC mental health facility.

       64.      In June of 2014, the number of detainees (both incompetent detainees and insanity

acquittees) waiting to be transferred to an HHSC mental health facility was about 170; by February

of 2016, the number had risen to more than 380. As of April 1, 2016, the longest wait time for a

non-maximum security bed was 122 days—approximately four months. According to HHSC, as

of April 1, 2016, the average wait time for a maximum-security bed was 275 days, or more than

nine months.




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       65.     According to a May 13, 2016 investigative report by ABC-13, state statistics going

back to 2006 show that the number of detainees waiting in jails for competency restoration

treatment “has never been this long,” and that the number of individuals on the wait list has grown

by “20% in the last six months.”

       66.     As of the filing of Plaintiffs’ Third Amended Complaint in September 2017, 283

individuals were waiting in county jails for a maximum-security bed; currently, that number has

increased to approximately 463 individuals. The number of individuals waiting in a county jail

longer than twenty-one days for a maximum-security bed has increased from 246 individuals in

September 2017 to approximately 417 individuals as of January 2019. The individual who has

been waiting in jail for a maximum security bed the longest has currently been waiting almost 400

days—over two months longer than the longest wait in September 2017. As for the waitlist for a

non-maximum security bed, the waitlist has nearly tripled from 96 individuals in September 2017

to 269 currently waiting in jail for such a bed. While only four individuals had been waiting longer

than twenty-one days in September 2017, that list has climbed to approximately 174 individuals

waiting longer than twenty-one days for a non-maximum security bed as of January 2019. The

individual who has been waiting in jail the longest for a non-maximum security bed has been

waiting 113 days, which is three times longer than the person waiting the longest at the time of the

filing of Plaintiffs’ Third Amended Complaint.

       67.     The delay in admitting those found incompetent to stand trial infringes on their right

to be free from incarceration absent a criminal conviction as well as the ability to receive

competency-restoration treatment, which necessarily extends the time within which an individual

can be tried once restored to competency.




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        68.     The delay in admitting those found not guilty by reason of insanity infringes on

their right to be free from incarceration after being absolved of criminal responsibility, as well as

their ability to receive evaluation and treatment so that the criminal courts can reach final

dispositions in their civil commitments.

        69.     Because incompetent criminal defendants have not been convicted of any crime

and insanity acquittees have been absolved of criminal responsibility, both classes of persons have

a liberty interest in freedom from incarceration. Because the detention of incompetent detainees

is solely for the purpose of restorative treatment and the detention of insanity acquittees is solely

for evaluation and/or treatment services, lack of funds, staff, or facilities are not legitimate

governmental purposes that justify the Defendant’s failures.

        70.     As a direct and proximate result of the foregoing, the Individual Plaintiffs and the

Classes will continue to be deprived of their liberty rights without due process of law, in violation

of their constitutional rights.

        71.     Plaintiff Joseph Ward is a defendant in a criminal case in the 351st Judicial District

Court in Harris County, Texas. On or about February 17, 2016, Mr. Ward was found incompetent

to stand trial and was ordered to be committed to a mental health facility for further examination

and treatment toward the specific objective of attaining competency to stand trial. Despite the

criminal court’s order, HHSC did not allow Harris County to timely transfer Mr. Ward to one of

its mental health facilities; instead, he was placed on an HHSC waiting list. As a result, he was

incarcerated in the Harris County Jail for 59 weeks before being admitted to North Texas State

Hospital-Vernon on April 4, 2017. While in jail, Mr. Ward did not receive competency restoration

treatment.




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           72.   Mr. Ward has been diagnosed with schizoaffective disorder, epilepsy, asthma, and

hypertension. Harris County Jail staff noted that Mr. Ward has a history of neurocognitive

impairment. In February 2016, during a mental health assessment, staff noted Mr. Ward’s

confusion and inability to remember information such as street names, location, and names of

doctors. Staff noted that “competency restoration may be unlikely or slow based on current clinical

presentation of the assessment.”

           73.   Mr. Ward has a long psychiatric history and previous incarcerations where he has

been found incompetent to stand trial. During his most recent incarceration, Mr. Ward requested,

and voluntarily took, his psychotropic medications; however, he continued to report command

auditory hallucinations throughout his incarceration.

           74.   Plaintiff Marc Lawson is a defendant in a criminal case in the 390th Judicial District

Court in Travis County, Texas. On or about May 11, 2016, Mr. Lawson was found incompetent

to stand trial and ordered to be committed to a mental health facility for further examination and

treatment towards the specific objective of attaining competency to stand trial. The order also

required the Sheriff to transport Mr. Lawson to an HHSC mental health facility. Despite the

criminal court’s order, HHSC did not allow Travis County to timely transfer Mr. Lawson to one if

its mental health facilities; instead, he was placed on an HHSC waiting list. As a result, he was

incarcerated in the Travis County Jail for sixty weeks before being admitted to North Texas State

Hospital-Vernon on July 20, 2017. Mr. Lawson did not receive competency restoration treatment

in jail.

           75.   Mr. Lawson is twenty-two years old, has never previously been incarcerated, and

has been in the Texas Child Protective Services system since age five. Mr. Lawson is diagnosed

with an intellectual disability, pervasive developmental disorders, attention deficit hyperactivity



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disorder, bipolar disorder, conduct disorder, antisocial personality disorder, epilepsy/seizure

disorder and Hepatitis C. Mr. Lawson has a history of treatment at psychiatric hospitals and

receiving psychotropic medication from a young age.

       76.     During Mr. Lawson’s incarceration, jail personnel reported that he had obvious

cognitive deficits and poor social skills. He was categorized as vulnerable, and jail personnel

documented concerns over his being housed in a cell with other inmates due to his vulnerability.

Upon his admission, Mr. Lawson was initially placed in full suicide precaution and/or psychiatric

lockdown housing for about one week. While in psychiatric lockdown and full suicide precaution

housing, Mr. Lawson was permitted outside of his cell for only one hour a day, and it was not

guaranteed that he would receive any time outdoors. He was then transferred to and housed in a

single cell for over two months. Mr. Lawson was prescribed two medications for his medical

conditions and one antipsychotic. The Travis County Jail classified his mental health and medical

needs as severe.

       77.     Mr. Lawson’s psychiatric evaluation from May 2016 stated that he is incompetent

to stand trial and “competency cannot be restored in the foreseeable future with traditional

competency restoration treatment due to the chronic nature of his condition.” The psychiatrist

documented that although he is prescribed psychiatric medication, the medication “will not

improve cognitive symptoms responsible for observed deficits relating to trial competency.”

       78.     Plaintiff Jennifer Lampkin is a defendant in a criminal case in the 403rd Judicial

District Court in Travis County, Texas. On or about March 31, 2016, Ms. Lampkin was found

incompetent to stand trial and ordered to be committed to a mental health facility for further

examination and treatment towards the specific objective of attaining competency to stand trial.

The order also required the Sheriff to transport Ms. Lampkin to an HHSC mental health facility.



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Despite the criminal court’s order, HHSC did not allow Travis County to timely transfer Ms.

Lampkin to one of its mental health facilities; instead, she was placed on an HHSC waiting list.

As a result, she was incarcerated in the Travis County Jail for 65 weeks before being admitted to

North Texas State Hospital-Vernon on July 6, 2017. Ms. Lampkin did not receive competency

restoration treatment in jail.

        79.      Ms. Lampkin is diagnosed with an intellectual disability and bipolar disorder. She

also has a history of psychosis, resulting in numerous emergency psychiatric hospitalizations. She

has a long history of mental illness and has a history of being treated by Austin Travis County

Integral Care.

        80.      While incarcerated, Ms. Lampkin exhibited symptoms of and behaviors related to

her mental health condition. Records by the jail counselor indicated that Ms. Lampkin has obvious

cognitive deficits and is low functioning. Ms. Lampkin was housed exclusively in psychiatric

housing and, in July 2016, the jail counselor reported that she is “struggling due to isolation.”

Moreover, the jail conditions affected Ms. Lampkin’s physical condition. Over the duration of her

incarceration, Ms. Lampkin lost over thirty pounds.

        81.      Plaintiff Cecil Adickes was a defendant in a criminal case in the 147th Judicial

District Court in Travis County, Texas. On or about November 7, 2016, Mr. Adickes was found

not guilty by reason of insanity and was ordered to be committed to a maximum security mental

health facility for evaluation of his present mental condition and for treatment. Despite the

criminal court’s order and the fourteen-day time limit required by Texas Code of Criminal

Procedure Article 46C.160, HHSC did not allow Travis County to timely transfer Mr. Adickes to

one if its mental health facilities; instead, he was placed on an HHSC waiting list. As a result, he

was incarcerated in the Travis County Jail for 13 weeks before being admitted to North Texas State



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Hospital-Vernon on February 9, 2017. Mr. Adickes did not and could not receive the court-ordered

evaluation and treatment in jail.

        82.     Plaintiff Kenneth Jones is a defendant in a criminal case in the 185th Judicial

District Court in Harris County, Texas. On or about August 10, 2017, Mr. Jones was found

incompetent to stand trial and was ordered to be committed to a mental health facility for further

examination and treatment toward the specific objective of attaining competency to stand trial.

Despite the criminal court’s order, HHSC did not allow Harris County to timely transfer Mr. Jones

to one of its mental health facilities; instead, he was placed on an HHSC waiting list. As a result,

he was incarcerated in the Harris County Jail for 49 weeks before being admitted to Rusk State

Hospital on July 19, 2018. Mr. Jones did not and could not receive the competency restoration

treatment in jail.

        83.     Mr. Jones has a long psychiatric history and has been diagnosed with bipolar

disorder and post-traumatic stress disorder. During this recent incarceration, Mr. Jones requested

and voluntarily took his psychotropic medications; however, in May of 2017, he reported that his

medication was not working and that he had become suicidal. Mr. Jones’ medications were

adjusted, but he continued to report visual hallucinations and delusions at the time of the filing of

Plaintiffs’ Third Amended Complaint. Mr. Jones also had several altercations with other inmates

resulting in at least three disciplinary charges.

        84.     Plaintiff Mary Sapp was a defendant in a criminal case in the 185th Judicial District

Court in Harris County, Texas. On or about June 22, 2016, Ms. Sapp was found incompetent to

stand trial and was ordered to be committed to a mental health facility for further examination and

treatment toward the specific objective of attaining competency to stand trial. Despite the criminal

court’s order, HHSC did not allow Harris County to transfer Ms. Sapp to one if its mental health



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facilities; instead, she was placed on an HHSC waiting list. As a result, she was incarcerated for

eight weeks before being admitted to North Texas State Hospital-Vernon on August 23, 2016. Ms.

Sapp did not and could not receive the competency restoration treatment in jail.    Ms. Sapp spent

seven months at North Texas State Hospital-Vernon before being restored to competency and

returned to Harris County Jail to stand trial.

          85.   On or about May 23, 2017, Ms. Sapp was found not guilty by reason of insanity

and was ordered to be committed to a maximum security mental health facility for evaluation of

her present mental condition and for treatment. Despite the criminal court’s order and the fourteen-

day time limit required by Texas Code of Criminal Procedure Article 46C.160, HHSC did not

allow Harris County to timely transfer Ms. Sapp to one of its mental health facilities; instead, she

was placed on an HHSC waiting list. As a result, she was incarcerated in the Harris County Jail

for 27 weeks before being admitted to North Texas State Hospital-Vernon on December 7, 2017.

Ms. Sapp did not and could not receive the court-ordered evaluation and treatment in jail.

          86.   Ms. Sapp is 68 years old and has been diagnosed with schizoaffective disorder,

COPD, diabetes, stage three chronic kidney disease, asthma, hypertension, osteoarthritis, and

spinal degeneration. Prior to being incarcerated, Ms. Sapp was receiving outpatient psychiatric

services. Ms. Sapp had a number of falls while incarcerated at Harris County Jail and was even

sent to the infirmary in April of 2017 due to her inability to care for her own activities of daily

living.

          87.   Plaintiff Julian Torres is a defendant in a criminal case in the 5th County Court at

Law of Travis County, Texas. Within five days of his arrest, Mr. Torres was found incompetent

to stand trial and, on or about April 16, 2019, was ordered to be committed to a mental health

facility for further examination and treatment toward the specific objective of attaining



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competency to stand trial. Despite the criminal court’s order, HHSC has not allowed Travis County

to transfer Mr. Torres to one of its mental health facilities; instead, he was placed on an HHSC

waiting list. As a result, he continues to be incarcerated in the Travis County Jail. Mr. Torres does

not receive competency restoration treatment in jail.

          88.   Mr. Torres is diagnosed with schizophrenia. His mental health condition was so

deteriorated that he spent the first week of his incarceration on the acute psychiatric unit at the

Travis County Correctional Complex. He has only recently transferred to a single-cell mental

health pod where he spends twenty-two hours a day isolated in his cell. This is at least the third

time Mr. Torres has been found incompetent to stand trial, having spent several months at Austin

State Hospital in 2017 and Montgomery County Mental Health Treatment Facility in 2018 on

competency restoration commitments.

                                FIRST CAUSE OF ACTION
                       Fourteenth Amendment to the U.S. Constitution

A.        Defendant Has Violated, and Continues to Violate Incompetent Detainees’ Rights
          Under the Fourteenth Amendment to the U.S. Constitution.

          89.   The allegations contained in paragraphs 1 through 88 above are incorporated

herein.

          90.   The Fourteenth Amendment to the United States Constitution prohibits states from

depriving any person of life, liberty, or property without due process of law.

          91.   Criminal defendants who have not been convicted and have been adjudicated

incompetent to stand trial have liberty interests in freedom from incarceration and the right not to

be punished.




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       92.        To ensure Plaintiffs are not punished, due process requires that the nature and

duration of confinement bear a reasonable relation to the purpose for which an individual is

confined.

       93.        Once an individual is found unable to aid and assist in their own defense, all

criminal proceedings must stop. The only stated lawful purpose for their continued confinement

after an incompetency determination is commitment for restorative treatment so as to return him

or her to competency.

       94.        County jails do not provide Plaintiffs with the restorative treatment required by

state law. Instead, only facilities funded by Defendant provide restorative treatment. No legitimate

state interest justifies the continued incarceration of incompetent criminal defendants in county

jails for months on end, especially when there are state-mandated, less harsh alternatives.

       95.        Defendant’s insufficient forensic capacity therefore punishes the Plaintiffs by

forcing them to languish in county jails for months without state-mandated restorative treatment

before being admitted to one its facilities for the state-mandated restorative treatment.

       96.        The nature and duration of Class Plaintiffs’ and the other members of the Class of

incompetent detainees’ incarceration bears no reasonable relation to the restorative purpose for

which the court has committed these individuals, violating their Fourteenth Amendment due

process rights.

       97.        The Class Plaintiffs and the other members of the Class of incompetent detainees

are entitled to an order of the Court declaring that, by requiring persons found incompetent to stand

trial to remain in county jails for protracted periods and by failing to provide restorative treatment

in a reasonably timely manner, Defendant has violated the Fourteenth Amendment due process

rights of the Plaintiffs and the other Class members.



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          98.    Unless enjoined by the Court, Defendant will continue to violate the constitutional

rights of the Plaintiffs and the other Class members found incompetent to stand trial. The Plaintiffs

and the other Class members are therefore entitled to an order of the Court enjoining Defendant

from further violations of the Plaintiffs’ rights to due process in relation to their continued

incarceration in jail while awaiting a bed at an HHSC mental health facility where they can receive

the state-mandated restorative treatment.

B.        Defendant Has Violated, and Continues to Violate Insanity Acquittees’ Rights Under
          the Fourteenth Amendment to the U.S. Constitution.

          99.    The allegations contained in paragraphs 1 through 98 above are incorporated

herein.

          100.   The Fourteenth Amendment to the United States Constitution prohibits states from

depriving any person of life, liberty, or property without due process of law.

          101.   Persons who have been found not guilty by reason of insanity, and thereby acquitted

of criminal charges, have liberty interests in freedom from incarceration and the right not to be

punished.

          102.   To ensure persons who have been found not guilty by reason of insanity are not

punished, due process requires that the nature and duration of confinement must bear a reasonable

relation to the purpose for which an individual is confined.

          103.   Once an individual is found not guilty by reason of insanity, they have been

acquitted of the offense charged and cannot remain incarcerated. The only stated lawful purpose

for their continued confinement is commitment to an HHSC mental health facility where they are

to be provided evaluation and treatment services for their present mental condition, which will

enable the court to reach final disposition.




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       104.     County jails do not have the resources or expertise to provide the evaluation and/or

treatment services mandated by state law. Instead, only facilities funded by Defendant provide the

evaluation and/or treatment services mandated by state law.

       105.     No legitimate state interest justifies the incarceration of insanity acquittees in

county jails for months on end, especially when there are state-mandated, less harsh alternatives.

       106.      Defendant’s insufficient forensic capacity therefore punishes the Plaintiffs by

forcing them to languish in county jails for months without evaluation and/or treatment services

before being admitted to one of its facilities for the state-mandated evaluation and/or treatment

services.

       107.     The nature and duration of Class Plaintiffs’ and the other members of the Class of

insanity acquittees’ incarceration bears no reasonable relation to the evaluation and/or treatment

purpose for which the court has committed insanity acquittees, violating their Fourteenth

Amendment due process rights.

       108.     The Class Plaintiffs and the other members of the Class of insanity acquittees are

entitled to an order of the Court declaring that, by requiring insanity acquittees to remain

incarcerated in county jails for protracted periods and by failing to provide evaluation and/or

treatment in a reasonably timely manner, Defendant has violated the Fourteenth Amendment due

process rights of the Plaintiffs and the other Class members.

       109.     Unless enjoined by the Court, Defendant will continue to violate the constitutional

rights of the Plaintiffs and the other members of the Class of insanity acquittees. The Plaintiffs

and the other members of the Class of insanity acquittees are therefore entitled to an order of the

Court enjoining Defendant from further violations of the Plaintiffs’ rights to due process in relation




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to their continued confinement while awaiting evaluation and/or treatment at an HHSC mental

health facility.

                                          ATTORNEY’S FEES

        110.       Plaintiffs are entitled to recover their attorneys’ fees, costs, and expenses pursuant

to 42 U.S.C. § 1988 and 42 U.S.C. § 12205.

                                        PRAYER FOR RELIEF

        THEREFORE: Plaintiffs respectfully request this Court to:

        A.         Certified the requested classes and appoint named Plaintiffs as class

                   representatives;

        B.         Enter an Order declaring that, by requiring Class Plaintiffs and the other members

                   of the Class who have been found incompetent to stand trial to remain incarcerated

                   in county jails for protracted periods before timely making a bed available to them

                   for purposes of state-mandated restorative treatment services (e.g., within twenty-

                   one days of receiving the court order committing them to an HHSC mental health

                   facility), Defendant is depriving them of their due process rights under the

                   Fourteenth Amendment to the United States Constitution;

        C.         Enter an Order declaring that, by requiring Class Plaintiffs and the other members

                   of the Class who have been found not guilty by reason of insanity to remain

                   incarcerated in county jails for more than fourteen days before making a bed

                   available to them at an HHSC mental health facility for evaluation and/or treatment

                   services, Defendant is depriving them of their due process rights under the

                   Fourteenth Amendment to the United States Constitution and in violation of state

                   law;



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D.   Issue preliminary and permanent injunctive relief restraining Defendant from

     failing to make a bed available to individuals found incompetent to stand trial for

     purposes of the state-mandated restoration services within a reasonable time period

     (e.g., within twenty-one days of receiving the court order committing them to an

     HHSC mental health facility) or enter other injunctive relief sufficient to prevent

     Defendant from violating the Fourteenth Amendment to the United States

     Constitution in relation to the confinement of individuals awaiting competency

     restoration treatment;

E.   Issue preliminary and permanent injunctive relief restraining Defendant from

     failing to make a bed available to individuals found not guilty by reason of insanity

     for purposes of the state-mandated evaluation and treatment services within

     fourteen days of receiving the court order committing them to an HHSC mental

     health facility or enter other injunctive relief sufficient to prevent Defendant from

     violating the Fourteenth Amendment to the United States Constitution in relation

     to the confinement of persons found not guilty by reason of insanity and awaiting

     evaluation and/or treatment services;

E.   Award Plaintiffs their reasonable attorneys’ fees and costs; and

F.   Grant all such other relief as the Court may deem just and proper.




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                                   Respectfully submitted,


                                   ____________________________________
                                   BETH MITCHELL
                                   State Bar No. 00784613

                                   PETER HOFER
                                   State Bar No. 09777275

                                   LISA SNEAD
                                   State Bar No. 24062204

                                   DISABILITY RIGHTS TEXAS
                                   2222 West Braker Lane
                                   Austin, Texas 78758
                                   (512) 454-4816 (Phone)
                                   (512) 454-3999 (Fax)
                                   bmitchell@drtx.org
                                   phofer@drtx.org
                                   lsnead@drtx.org

                                   COTY MEIBEYER
                                   State Bar No. 24085469
                                   DISABILITY RIGHTS TEXAS
                                   1500 McGowen, Suite 100
                                   Houston, Texas 77004
                                   (713) 974-7691 (Phone)
                                   (713) 974-7695 (Fax)
                                   cmeibeyer@drtx.org

                                   JOHN MICHAEL GADDIS
                                   State Bar No. 24069747
                                   WINSTON & STRAWN LLP
                                   2121 N. Pearl St., Suite 900
                                   Dallas, Texas 75201
                                   (214) 453-6500 (Phone)
                                   (214) 453-6400 (Fax)
                                   mgaddis@winston.com

                                   ATTORNEYS FOR PLAINTIFFS




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 7, 2019, a true and correct copy of the foregoing document

was electronically filed using the Court’s CM/ECF filing system, thus providing notice of

electronic filing to the following:

       Thomas A. Albright
       Michael R. Abrams
       Assistant Attorneys General
       General Litigation Division
       P.O. Box 12548, Capitol Station
       Austin, Texas 78711-2548



                                                  BETH MITCHELL




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